

Wintermute v Palone Enters., LLC (2024 NY Slip Op 00518)





Wintermute v Palone Enters., LLC


2024 NY Slip Op 00518


Decided on February 2, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CURRAN, MONTOUR, OGDEN, AND DELCONTE, JJ.


611 CA 23-00235

[*1]ROBERT WINTERMUTE, PLAINTIFF-RESPONDENT,
vPALONE ENTERPRISES, LLC, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. 






BARCLAY DAMON LLP, ROCHESTER (DAVID M. FULVIO OF COUNSEL), FOR DEFENDANT-APPELLANT.
LAW OFFICES OF KENNETH HILLER, PLLC, AMHERST (TIMOTHY E. HILLER OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


	Appeal from an order of the Supreme Court, Seneca County (Barry L. Porsch, A.J.), entered August 17, 2022. The order, insofar as appealed from, denied that part of the motion of defendants seeking summary judgment dismissing the complaint against defendant Palone Enterprises, LLC. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on September 26 and November 13, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: February 2, 2024
Ann Dillon Flynn
Clerk of the Court








